Case 1:21-cr-00078-LEW Document 58 Filed 12/06/21 Page 1 of 2                      PageID #: 135




                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE

UNITED STATES OF AMERICA                      )
                                              )
               v.                             )       Crim. No. 1:21-cr-00078-LEW
                                              )
DAVID PHILLIPS                                )



                        MOTION FOR DOWNWARD DEPARTURE

       The United States moves pursuant to Title 18, United States Code, Section 3553 and

United States Sentencing Commission Guideline Section 5K1.1 that the court impose a sentence

below that called for by the applicable statute and guideline in view of the substantial assistance

which the defendant provided to the government. In support of this motion, the United States

submits a letter addressed to the Honorable Lance E. Walker describing the assistance provided

by the defendant.

       Dated at Bangor, Maine, 6th day of December, 2021.

                                                      Respectfully submitted,

                                                      DARCIE N. MCELWEE
                                                      UNITED STATES ATTORNEY


                                                      BY: /s/ ANDREW MCCORMACK
                                                      ANDREW MCCORMACK
                                                      Assistant U.S. Attorney
Case 1:21-cr-00078-LEW Document 58 Filed 12/06/21 Page 2 of 2                     PageID #: 136




                                CERTIFICATE OF SERVICE

       I hereby certify that on December 6, 2021, I filed Government=s Motion for Downward

Departure with the Clerk of Court via newcases and sent notification of such filing to the

following:


       Luke Rioux, Esq., at luke@rdcplawyers.com


                                             Darcie N. McElwee
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